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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                 )
                                                 )           MDL No. 2867
IN RE: LOCAL TV ADVERTISING                      )           No. 18 C 6785
ANTITRUST LITIGATION                             )
                                                 )           Judge Virginia M. Kendall
                                                 )

                                             ORDER

        The Court reviewed the applications for lead counsel in this multidistrict litigation (MDL).
The Court also held a hearing regarding the issue on November 19, 2018. The Court considered
all written and oral submissions, in addition to the factors set forth in Federal Rule of Civil
Procedure 23(g) and in the Manual for Complex Litigation (4th) §10.22.

I.      Leadership Structure

        A.     Lead Counsel

        The Court hereby appoints the following as lead counsel:

        Megan E. Jones
        Hausfeld LLP
        600 Montgomery St., #3200
        San Francisco, CA 94111
        (415) 633-1908
        mjones@hausfeld.com

         Ms. Jones more than meets the requirements of Rule 23(g)(1)(A). She has done significant
work in identifying and investigating potential claims, she is highly experienced in complex
litigation, she knows antitrust law, and her firm has appropriate resources to represent the class.

        B.     Liaison counsel

        The Court hereby appoints the following as liaison counsel:

        Freed Kanner London & Millen LLC
        201 Waukegan Road, Suite 130
        Bannockburn, IL 60015
        (224) 632-4500



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         C.     Plaintiffs’ Steering Committee Members

       The Court hereby appoints a Plaintiffs’ Steering Committee (PSC) that shall consist of the
following attorneys and their respective firms:

         Hollis Salzman
         Robins Kaplan LLP
         399 Park Avenue, Suite 3600
         New York, NY 10022
         (212) 980-7400
         hsalzman@robinskaplan.com

         Kimberly A. Justice
         Kessler Topaz Meltzer & Check, LLP
         280 King of Prussia Road
         Radnor, PA 19087
         (610) 667-7706
         kjustice@ktmc.com

         E.     Designations and Future Changes

        These designations are of a personal nature. Accordingly, the Court looks to counsel to
undertake personal responsibility to perform the designated functions and reserves the discretion
to replace them upon their request or the Court’s own motion. The Court may expand or amend
the PSC members upon request from Lead Counsel or on the Court’s own motion.

II.      Duties and Responsibilities of Plaintiffs’ Leadership

         A.     Responsibilities of Plaintiffs’ Co-Lead Counsel:

         Lead counsel shall generally coordinate the activities of the plaintiffs in conducting this
litigation toward final resolution and shall work toward accommodating the demands of this MDL
under the direction of the Seventh Circuit in Authenticom, Inc. v. CDK Global, LLC, 874 F.3d
1019 (7th Cir. 2017). Lead Counsel shall litigate these matters on behalf of all plaintiffs, namely,
they shall make strategic, tactical, and procedural decisions on behalf of the plaintiffs’ counsel.
Lead Counsel shall, either personally or by coordinating the efforts of the PSC, perform the
following duties, among others:

                Discovery

                a.      Initiate, coordinate, and conduct all generic pretrial discovery on behalf of
                all plaintiffs who file civil actions in this Court or that are transferred to this Court
                pursuant to 28 U.S.C. § 1407 and that are consolidated with this MDL proceeding;

                b.    Develop and propose to the Court schedules for the execution and
                completion of all discovery on behalf of all plaintiffs;
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         c.      Initiate, coordinate, and cause to be issued in the name of all plaintiffs, the
         necessary discovery requests, motions, and subpoenas pertaining to any witness and
         documents needed to prepare properly for the pretrial of relevant issues found in
         the pleadings of this litigation (similar requests, notices, and subpoenas may be
         caused to be issued by plaintiffs’ Lead Counsel upon written request by an
         individual attorney in order to assist him or her in preparation of the pretrial stages
         of his or her client’s particular claims);

         d.    Ensure strict complaint with Local Rule 37.2 before filing any discovery
         motions with the Court;

         e.     Identify witnesses to be noticed for deposition, schedule witness
         depositions, and determine the lead examiner(s) for each noticed deposition;

         f.      Conduct all discovery in a coordinated and consolidated manner on behalf
         of and for the benefit of all plaintiffs, and bind plaintiffs and all putative class
         members in the resolution of any discovery disputes;

         Motion Practice and Hearings

         g.     Submit any motions presented to the Court on behalf of all plaintiffs as well
         as oppose, as appropriate, any motions submitted by the defendants or third parties;

         h.     Examine or designate other counsel to examine witnesses and introduce
         evidence at hearings on behalf of Plaintiffs;

         i.      Act or designate other counsel to act as spokesperson(s) for the plaintiffs at
         pretrial proceedings and in response to any inquiries by the Court;

         Contact with Defense Counsel

         j.     Initiate, coordinate, and conduct the requisite meet and confers with the
         defendants, confer with the defendants regarding procedural matters, and negotiate
         and enter into stipulations and case management orders with the defendants
         regarding this litigation;

         k.     Explore or designate other counsel to explore, develop, and pursue
         settlement options with the defendants on behalf of plaintiffs.

         Oversight of Plaintiffs’ Counsel

         l.     Call meetings of plaintiffs’ counsel for any appropriate purpose;



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         m.     Assign litigation-related tasks to plaintiffs’ counsel who communicate their
         willingness to work for the common benefit of all plaintiffs, taking into
         consideration the strengths and weaknesses of counsel requesting such
         assignments;

         n.     Monitor the activities of the PSC and other co-counsel to ensure that
         schedules are met, and unnecessary expenditures of time and funds are avoided;

         Committee Formation

         o.      Lead Counsel shall have the power to form committees and appoint
         committee chairs for specific litigation tasks, including but not limited to the
         following: (i) Discovery; (ii) Law and Briefing; (iii) Science/Experts; (iv) Trial;
         and (v) others as the need may arise;

         Trial Preparation

         p.     Coordinate trial team(s)’s selection, management, and presentation of any
         “bellwether” and/or “test” case trial(s); and

         Other

         q.      Perform such other duties as may be incidental to proper coordination of
         Plaintiffs’ activities or authorized by further order of the Court.

   B.    Responsibilities of Plaintiffs’ Liaison Counsel

         Plaintiffs’ Liaison counsel shall:

         1.      Coordinate service and filings for the plaintiffs;

         2.      Maintain and distribute to co-counsel and to defense counsel an up-to-date
                 service list;

         3.      Maintaining in conjunction with their accountant records of receipts and
                 disbursements advanced by members of the PSC and received by the PSC
                 and to report in writing to the PSC concerning disbursements and receipts;

         4.      Maintain and make available to all Plaintiff’s counsel of record at
                 reasonable hours a complete file of all documents served by or upon each
                 party (except such documents as may be available at a document
                 depository);

         5.      Be available for any Court status conferences and communicate the
                 substance of any such conferences to all other plaintiffs’ counsel; and

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               6.      Carry out such other duties as the Court may order.

       C.      Responsibilities of the PSC

        The PSC shall consult with Lead Counsel and Liaison Counsel in coordinating the
plaintiffs’ pretrial activities and in planning for trial. The PSC shall be authorized to perform work
only based upon assignments received from Lead Counsel (or their designees).

III.   Communications with the Court

       All communications from the plaintiffs with the Court shall be through Lead Counsel or
Liaison Counsel. If circumstances require direct correspondence with the Court by individual
counsel, copies of any said communications shall simultaneously be served upon Lead Counsel
and Liaison Counsel.

IV.    Term of Appointments

        All appointments are made for a one-year period and will expire on 1/18/2020. Appointees
may apply for reappointment when their term expires. A re-application process will be established
at an appropriate time in advance of the expiration date.




                                               ____________________________________
                                               Virginia M. Kendall
                                               United States District Judge
Date: January 23, 2019




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